Case: 5:17-cv-00247-SL Doc #: 1-9 Filed: 02/06/17 10f1. PagelD #: 151

 

 

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IN THE COURT OF COMMON PLEAS

TUSCARAWAS COUNTY, OHIO
oul Ch als DIVISION
STATE OF OHIO 7008 APRA Ae sGASe NO.: 2007 CR 04.0145
Plaintiff ROCKNE MCL RAKE JUDGE: ELIZABETH L. THOMAKOS
vs. ‘
SEKOU IMANI

Renee Meme Mey ime

 

Defendant

Now comes the state of Ohio and provides the following as potential exculpatory
evidence, or evidence favorable to the Defendant and material to either gulit or
punishment:

Lisa Haas, a witness in this matter, has previously been charged with drug
related offenses in Coshocton County. In return for consideration in the handling of that
case or those cases, Coshocton County has agreed to reduce the seriousness of the
offenses or dismiss the criminal charges in return for her assistance In investigating
other drug related activity. Such assistance was to include assistance to other law
enforcement agencies in the area, including the Tuscarawas County Sheriff. No
consideration has been given by the Tuscarawas County Sheriff or ihe Tuscarawas

County Prosecutor for any conduct which may h

   

DAVID C. HIPP

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